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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF MARYLAND
                                 BALTIMORE DIVISION


 IN RE:                                                CHAPTER 13
 MELANGE S. SCOTT                                      CASE NUMBER: 21-14292

         DEBTOR


 MELANGE S. SCOTT

         MOVANT

 Vs.

 PETER M. FERRARO

         RESPONDENT


          MOTION FOR RELIEF FROM THE AUTOMATIC STAY TO PERMIT
              CONTINUATION OF PENDING APPEAL PROCEEDINGS

         NOW COMES, Melange S. Scott (hereinafter referred as “Movant” or “Debtor”

respectively), by and through her attorneys KIM PARKER, ESQUIRE and THE LAW OFFICES OF KIM

PARKER, P.A., and moves this Honorable Court pursuant to 11 U.S. Code § 362(d) and Bankruptcy

Rule 4001(a) and for reasons state:

         1.       The Debtor commenced this case under Chapter 7 of the Bankruptcy code on June

30, 2021; which was later converted to Chapter 13 on August 21, 2021.

         2.       On Peter M. Ferraro has filed a claim as a result of a judgment issued in the Circuit

Court for Baltimore County on April 19, 2021 in the amount of $18,346.99.

         3.       Prior to the filing of the Voluntary Petition, the Debtor filed a timely Notice of

Appeal with the Court of Special of Appeals of Maryland, where she intended on challenging the

judgment on the following legal basis:


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         (a) That Respondent committed Fraud on the Court1 when he submitted, in support of his

Motion for Default Judgement, a lease, which he represented was active, when in fact was expired

and was no longer in effect. Moreover, the expired lease had no evergreen clause automatically

renewing it terms; thus, it was not enforceable, and should not have been considered in the

underlying case; Exhibit A

         (b) That the Respondent submitted the purported expired lease, knowing or having good

reason to know that the Movant had given notice and no longer occupied the premises;

         (c) That the Movant filed a timely answer, thus, default was erroneous; Exhibit B

         (d) That the award of attorney’s fees was erroneous and in violation of Maryland law, as

there was no contractual basis for the court to award said fees;

         (e) That the Ledger attached to the Motion for Default Judgment was also fabricated,

inasmuch as it included rental and other charges; Exhibit C

         (f) Any other reasons which may be deemed just and equitable.

         4.       The submission of false evidence to the Circuit Court of Baltimore County for

which it relied in granting the Default Judgment against the Movant is repugnant to every sense of

equity and fair dealings; thus, is sanctionable.

         5.       The appeal was stayed by the filing of the Voluntary Petition. Exhibit D

         6.       The Debtor has meritorious defenses to the judgment and is highly likely to prevail

on the merits of the Appeal. Having the appeal adjudicated would also serve the ends of justice




1
  See Jannenga v. Johnson, 243 Md. 1, 5 (1966); Arnold v. Carafides, 282 Md. 375, 381 and 384(1978); Brooks v.
McMillan, 42 Md. App. 270, 275 (1979). In Thomas v. Nadel, 48 A.3d 276, 427 Md. 441 (2012), the Court of Appeals
defined “fraud on the court": "... a lawyer's or party's misconduct so serious that it undermines or is intended to
undermine the integrity of the proceeding. Examples are bribery of a juror and introduction of [f]abricated evidence."
Id. at 732. The tort of fraud similarly is based on a knowing or reckless misrepresentation.


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and will also aid the court in considering Movant’s objection to the proof of claim filed

contemporaneous with this Motion.

         7.     Judicial economy would be served by the granting of this Motion.

         8.     Section 362(d) of the Code allows a party in interest to request relief from the

automatic stay for cause. 11 U.S.C. § 362(d). In the context of litigation claims, the Fourth Circuit

has articulated at least the following three factors as relevant to evaluating a request for relief from

the automatic stay: “(1) whether the issues in the pending litigation involve only state law, so the

expertise of the bankruptcy court is unnecessary; (2) whether modifying the stay will promote

judicial economy and whether there would be greater interference with the bankruptcy case if the

stay were not lifted because matters would have to be litigated in bankruptcy court; and (3) whether

the estate can be protected properly by a requirement that creditors seek enforcement of any

judgment through the bankruptcy court.” No one factor is determinative, but a court should

consider the totality of the circumstances. In addition, a court must balance to the best of its ability

the interests of the Debtor’s estate, the interests of all creditors asserting claims against the estate,

and the potential hardship to the litigant if the requested relief is denied. See, e.g., Myles v. Xinergy

Ltd. (In re Xinergy Ltd.), Case No. 15-70444, 2015 WL 3643418, at *2 (Bankr. W.D. Va. Jun 11,

2015); In re Gyro-Trac (USA), Inc., 441 B.R. 470, 489 (Bankr. D.S.C. 2010).

         9.     The appeal presently involves matters of State Court, mainly breach of contract,

and not matters of Federal Law. See In Re Nims, 2011 E\WL 1402771 at *4(Bankr. D. Md. 2011).

         10.    Pursuant to Local Bankruptcy Rule 9013-2, Movant states that no memorandum

will be filed in support hereof, and she will rely solely upon this Motion.

         WHEREFORE, for all the foregoing reasons, Movant respectfully requests that this Court

lift the automatic stay for the sole purpose of permitting Movant to prosecute her appeal. As stated




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herein, permitting the continuation of the Appeal will not offend, disrupt, delay, or impede

progression of the bankruptcy case.

                                              Respectfully Submitted,

                                              THE LAW OFFICES OF KIM PARKER, P.A.

                                              /s/ Kim Parker
                                              ____________________________
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                               CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 20th day of December 2021, a copy of the foregoing

Motion for Relief and the correspondence were served via the Court’s ECF filing system to Scott

Wheat, Esquire, counsel for the Respondent.

                                              /s/ Kim Parker
                                              ____________________________
                                              Kim Parker, Esquire




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